      Case 1-16-40104-nhl            Doc 84      Filed 10/06/17        Entered 10/06/17 18:23:43




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                                                   October 6, 2017


VIA ECF
United States Bankruptcy Court Eastern District of New York (BRO)
271-C Cadman Plaza East
Brooklyn, NY 11201-1800


                                          RE: Chapter 13 Case No.: 16-40104-nhl; Aixa Muir


To Honorable Judge Nancy Hershey Lord:
        I trust all is well. Please accept this letter as a Final Loss Mitigation Status Report.

        At our last loss mitigation hearing on October 4, 2017, the Debtor, by counsel, requested a short
adjournment to allow Secured Creditor, Ocwen, in this case, time to re-review a new request for mortgage
assistance. Thereafter, Debtor’s counsel agreed to have a complete loss mitigation package to the Ocwen
attorneys by October 6, 2017 and loss mitigation was adjourned to November 7, 2017 (with Status Report
due on November 3, 2017).

        Now, the Debtor, by counsel, is requesting that loss mitigation be terminated. The Debtor intends
to withdraw her Chapter 13 Petition; therefore, loss mitigation has become moot. Therefore, Debtor, by
counsel, humbly requests termination of loss mitigation.

        If there are any questions or concerns regarding this matter please feel free to contact my office at
the phone number (or email) above during normal business hours.



                                  Yours truly,
                                  s/Kiva James
                                  KIVA JAMES, ESQ., PLLC
                                  Debtor’s Attorney
Cc: Michael Rozea, Esq. (Via ECF)
